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14
                          CENTRAL DISTRICT OF CALIFORNIA
15
16
     ANTHONY STERES,                            ) Case No. 2:21-cv-09310-JC
17                                              )
           Plaintiff,                           ) JUDGMENT OF REMAND
18                                              )
                  v.                            )
19                                              )
                                                )
20   KILOLO KIJAKAZI, Acting                    )
     Commissioner of Social Security,           )
21                                              )
                                                )
22         Defendant.                           )
23
24
           The Court having approved the parties’ Stipulation to Voluntary Remand
25
26   Pursuant to Sentence 4 of 42 U.S.C. § 405(g) and to Entry of Judgment (“Stipulation

27   of Remand”) lodged concurrent with the lodging of the within Judgment of Remand.

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 1         IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the above-
 2   captioned action is remanded to the Commissioner of Social Security for further
 3   proceedings consistent with the Stipulation of Remand.
 4
     DATED:      May 31, 2022
 5
                                                       /s/
 6                                        HONORABLE JACQUELINE CHOOLJIAN
 7                                        UNITED STATES MAGISTRATE JUDGE
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